       Case 2:20-cv-02396-EEF-MBN Document 82 Filed 12/15/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

JOSEPH R. MAHON, JR.                                                 CIVIL ACTION

VERSUS                                                               NO. 20-2396

TOWN OF MADISONVILLE, ET AL.                                         SECTION: L (5)


                               J U D G M E N T ON JURY VERDICT

        This action was tried by a jury with Judge Eldon E. Fallon presiding. On November 30,

2022, the jury returned a verdict in favor of defendants and against plaintiff, and the Court

adopted the jury’s verdict as its own judgment. Accordingly,

        IT IS ORDERED, ADJUDGED, AND DECREED that there be judgment in favor of

defendants Jean P. Pelloat, Bruce M. Danner, Barney Tyrney, and Town of Madisonville and

against plaintiff Joseph R. Mahon, Jr., dismissing the above entitled and numbered cause, with

prejudice, at plaintiff’s costs.

                New Orleans, Louisiana, this 15th      day of December, 2021.



                                              ________________________________

                                                  HON. ELDON E. FALLON
                                              UNITED STATES DISTRICT JUDGE
